Case No. 1:25-mj-00108-NRN       Document 5        filed 06/03/25   USDC Colorado    pg 1
                                        of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Action No. 25-mj-00108-NRN


UNITED STATES OF AMERICA,

      Plaintiff,

v.

MOHAMMED SABRY SOLIMAN,

      Defendant.


           MOTION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


      The United States of America, by and through the United States Attorney for the

District of Colorado, petitions the Court for a Writ of Habeas Corpus Ad Prosequendum

and states as follows:

      1.           The Defendant, Mohammed Sabry Soliman, YOB: 1979, ID Number

IN2502501, is now confined in Boulder County Jail, 3200 Airport Rd, Boulder, CO 80301.

      2.    A hearing in the above-captioned case will be held on June 6, 2025 at 2:00

pm in the United States District Court for the District of Colorado before a United States

Magistrate Judge, and it is necessary that he be present in person during the proceedings,

appearances, and final disposition of this case.

      WHEREFORE your Petitioner moves the Court to order that a Writ of Habeas

Corpus Ad Prosequendum be issued by this Court to the United States Marshal for the

District of Colorado, or any other United States Marshal, or to any other federal law
                                            1
Case No. 1:25-mj-00108-NRN        Document 5      filed 06/03/25   USDC Colorado       pg 2
                                         of 3




enforcement officer, requiring said federal law enforcement officer to serve the writ on the

Warden, Superintendent, or Custodian of any place or institution where the Defendant is

confined, and requiring said federal law enforcement officer to produce the Defendant

before a United States Magistrate Judge for said Defendant’s initial appearance; and to

hold said Defendant at all times in custody as an agent of the United States of America;

and that immediately after the conclusion of the proceedings and final disposition of the

above-entitled case in the United States District Court for the District of Colorado, shall

return said Defendant to the institution where he was confined, under safe and secure

conduct.

       Respectfully submitted this 3rd day of June, 2025.


                                          J. BISHOP GREWELL
                                          ACTING UNITED STATES ATTORNEY

                                   By:    s/Melissa Hindman
                                          Melissa Hindman
                                          Assistant United States Attorney
                                          United States Attorney's Office
                                          1801 California Street, Suite 1600
                                          Denver, Colorado 80202
                                          Telephone: (303) 454-0100
                                          Email: Melissa.Hindman@usdoj.gov
                                          Attorney for the Government




                                             2
Case No. 1:25-mj-00108-NRN       Document 5      filed 06/03/25   USDC Colorado       pg 3
                                        of 3




                              CERTIFICATE OF SERVICE

      I certify that on this 3rd day of June, 2025, I electronically filed the foregoing
MOTION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to all
counsel of record in this case.



                                  By:    s/Stephanie Graham
                                         Stephanie Graham
                                         Legal Assistant
                                         United States Attorney=s Office
                                         1801 California Street, Suite 1600
                                         Denver, Colorado 80202
                                         Telephone: (303) 454-0100




                                            3
